        Case 3:17-cv-00260-SDD-EWD             Document 43       12/22/17 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

SHIRLEY CAVALIER                                *
                                                *
                      PLAINTIFF                 *
VS.                                             *    CIVIL ACTION NO. 17-260-SDD-EWD
                                                *
                                                *
CARRINGTON MORTGAGE SERVICES,                   *
LLC, ET AL                                      *
              DEFENDANTS                        *

                NOTICE OF SETTLEMENT FOR DEFENDANTS
       EQUIFAX INFORMATION SERVICES, L.L.C. AND TRANS UNION, LLC

       NOW INTO COURT, through undersigned counsel, comes Shirley Cavalier, plaintiff herein,

who notifies the court that she has settled her claims against defendants Equifax Information

Services, L.L.C. and Trans Union, LLC, and requests the court enter a conditional dismissal of her

claims against those defendants. The remaining defendants are Carrington Mortgage Services, LLC

and Bank of America, N.A., plaintiff’s claims are under the Fair Credit Reporting Act (FCRA), 15

U.S.C. § 1681, et seq., and the Real Estate Settlement Procedures Act, 12 U.S.C. §2601, et seq.

("RESPA").

                                                     s/Garth J. Ridge
                                                     GARTH J. RIDGE
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                                                     251 Florida Street, Suite 301
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                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on the 22nd day of December, 2017, I electronically filed the
foregoing with the Clerk of court by using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.
Case 3:17-cv-00260-SDD-EWD   Document 43   12/22/17 Page 2 of 2




                                 s/Garth J. Ridge
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